Case 2:23-cv-01194-MEF-JRA           Document 173        Filed 05/02/25      Page 1 of 73 PageID:
                                           7621



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                                              May 2, 2025

  BY ECF
  Honorable José R. Almonte, U.S.M.J.
  United States District Court
  District of New Jersey
  Frank Lautenberg Post Office & U.S. Courthouse
  2 Federal Square
  Newark, New Jersey 07102
                  Re:      Catalyst Pharmaceuticals, Inc. And SERB SA v. Lupin LTD., et al.,
                           Civil Action No. 2:23-cv-01197-MEF-JRA; and
                           Catalyst Pharmaceuticals, Inc. and SERB SA v. Annora Pharma
                           Private Limited, et al., Civil Action No. 2:23-cv-01194-MEF-JRA

  Dear Judge Almonte:
         This firm, together with Buchanan Ingersoll & Rooney PC, represents Defendants Lupin
 Limited and Lupin Pharmaceuticals, Inc. Please accept this letter on behalf of the Lupin
 Defendants in Civil Action No. 23-1197 and the Annora/Hetero Defendants in Civil Action No.
 23-1194 regarding a scheduling dispute over the length of the deposition of Plaintiffs’ expert,
 Jeffrey David Winkler, Ph.D. The parties met and conferred on April 23, 2025, and were not able
 to resolve this issue.

 I.     Defendants’ Position
         The Lupin action (Civil Action No. 2:23-cv-01197) and Annora action (Civil Action No.
 2:23-cv-01194) are not consolidated cases. In these actions, Plaintiffs made a tactical decision to
 rely on a single expert (Dr. Winkler) to opine on infringement and validity of the asserted ’088
 patent in both matters, yet have only agreed to produce Dr. Winkler for one day of deposition
 collectively for both matters. Dr. Winkler issued five expert reports on multiple distinct issues:

        Lupin Action (Infringement Reports)

        x       Opening Expert Report of Jeffrey David Winkler, Ph.D., on Infringement of the
                ’088 patent

        x       Reply Expert Report of Jeffrey David Winkler, Ph.D., on Infringement of the ’088
                patent (in response to Lupin’s noninfringement expert Dr. W. Dichtel)
Case 2:23-cv-01194-MEF-JRA            Document 173        Filed 05/02/25      Page 2 of 73 PageID:
                                            7622



 Honorable José R. Almonte                                                              May 2, 2025
                                                                                             Page 2


        Annora Action (Infringement Reports)

        x       Opening Expert Report of Jeffrey David Winkler, Ph.D., on Infringement of the
                ’088 patent

        x       Reply Expert Report of Jeffrey David Winkler, Ph.D., on Infringement of the ’088
                patent (in response to Annora’s noninfringement expert Dr. D. Norwood)

        Lupin and Annora Actions (Validity Report)

        x       Rebuttal Expert Report of Jeffrey David Winkler, Ph.D., on Definiteness and
                Validity (in response to all of Defendants’ joint invalidity experts and declarant,
                Dr. R. Perni, Dr. S. Lepore, and M. Dothage)

         Plaintiffs should be required to present Dr. Winkler for two deposition days to ensure
 Defendants have a full and fair opportunity to depose Dr. Winkler. See Ex. 1, United States of
 America et al., v. Pharmerica Corp. et al., No. 11-1326-ESK-AMD, D.I. 615 at 22 (D.N.J. Feb.
 17, 2022) (explaining that “it’s not unusual for experts in cases where there are significant reports
 to be deposed for more than seven hours” and ordering 10 hours total for deposition if the expert
 is not evasive); Ex. 2, Novartis Pharms. Corp. v. Accord Healthcare Inc., No. 18-1043-LPS/KAJ,
 D.I. 215, 216 at ¶ 10(g)(3) (D. Del. Oct. 25, 2018) (ordering fourteen hours of deposition times for
 experts opining on both infringement and validity); Ex. 3, The Gillette Co. LLC v. Dollar Shave
 Club, Inc., No. 15-1158-LPS-CJB, D.I. 648 (D. Del. Jan. 3, 2019) (ordering two expert depositions
 to be conducted over more than seven hours because “[w]hen an expert opines on infringement
 and invalidity the party retaining that expert should expect that a deposition of seven (7) hours
 may be insufficient”).

         Through the meet and confer process, Plaintiffs offered to present Dr. Winkler for one
 additional hour of deposition (for a total of 8 hours) See Ex. 4 (Apr. 15, 2025 Email from D.
 Guinn). During the telephonic meet and confer dated April 23, 2025, Plaintiffs’ counsel made it
 clear that they would not offer any compromise other than limit the deposition to 8 hours. This
 offer, however, undermines and fails to acknowledge the complexity and scope of Dr. Winkler’s
 infringement and validity reports. For his infringement opinions, Dr. Winkler submitted two
 reports (an opening and a reply) to each defendant, which rely on Defendants’ respective
 confidential documents and testing of confidential samples. Lupin and Annora each need time to
 examine Dr. Winkler on these defendant-specific issues. Moreover, Dr. Winkler’s rebuttal validity
 report alone responds to three separate reports/declarations from Defendants on distinct issues: Dr.
 Perni’s Opening Expert Report on anticipation, obviousness, lack of written description, and lack
 of enablement; Ms. Dothage’s Declaration on reproducing prior art; and Dr. Lepore’s Opening
 Expert Report on indefiniteness.

       The inequity in Plaintiffs’ proposal is even more apparent in view of the fact that Plaintiffs
 deposed Dr. Lepore for approximately 4 hours on the single issue of indefiniteness on April 10,
Case 2:23-cv-01194-MEF-JRA             Document 173        Filed 05/02/25       Page 3 of 73 PageID:
                                             7623



 Honorable José R. Almonte                                                                May 2, 2025
                                                                                               Page 3


 2025, whereas, Dr. Winkler will be deposed on his five reports issued on (1) infringement with
 respect to Lupin, (2) infringement in response to Dr. Dichtel, (3) infringement with respect to
 Annora, (3) infringement in response to Dr. Norwood, and validity based on (4) anticipation, (5)
 obviousness, (6) prior art reproduction, (7) written description, (8) enablement, and (9)
 definiteness. Defendants should not be prejudiced or otherwise limited in their ability to depose
 Dr. Winkler on all the issues he addressed in his expert reports as a result of Plaintiffs’ decision to
 use a single expert to opine on so many distinct issues.

        Plaintiffs’ argument regarding Dr. Winkler’s February 8, 2024’s deposition is a red herring.
 That deposition took place as part of the Markman proceedings, before expert discovery
 commenced. Moreover, Plaintiffs too took a deposition of Defendants’ joint expert, Dr. Lepore,
 during the Markman proceedings who they again deposed for a second time in response to the
 opinions he offered during expert discovery.

         In a footnote Plaintiffs raise that the Hetero Defendants initially accepted Dr. Winkler’s
 deposition date without exception. What Plaintiffs fail to note is that Plaintiffs emailed each
 defendant separately regarding the deposition of Dr. Winkler (as well as the deposition of Dr.
 Blair), further supporting Defendants’ position that there are defendant-specific issues that Dr.
 Winkler opined on requiring more than a single day of deposition for both defendants.

         It is clear that Defendants Lupin and Annora are coordinating on the depositions.
 Defendants agreed to jointly depose Plaintiffs’ second infringement expert, Dr. Blair, on May 16,
 even though Dr. Blair issued two reports on each of the defendants. Because the Defendants have
 separate non-infringement experts, Plaintiffs are able to depose each of those experts separately,
 for a total of 14 hours as well as Defendants’ three invalidity experts/declarant for a total of 21
 hours, yet because Plaintiffs used a single expert to respond both those five experts/declarant they
 think offering Dr. Winkler for an 8-hour deposition is “a compromise”.

        Defendants respectfully request the Court order Plaintiffs to present Dr. Winkler for
 deposition for two seven-hour days to provide Defendants sufficient time to examine him on his
 opinions on infringement and validity.

 II.    Plaintiffs’ Position
         Defendants have not and cannot show good cause for departing from the Federal Rules and
 requiring Dr. Winkler to sit for a two-day, 14-hour deposition. Fed. R. Civ. P. 30(d)(1); id.,
 Advisory Committee Notes to 2000 Amendment, Subdivision (d) (explaining that a party seeking
 more than a one-day, seven-hour deposition is expected to show good cause). Indeed, Defendants’
 request is unreasonable and unjustified for several reasons.

        First, Defendants made no effort to confer in good faith on the amount of time they
 believed they actually needed to depose Dr. Winkler. When Defendants first raised an issue with
 the amount of time for Dr. Winkler’s deposition, they asked that he be made available for a second
Case 2:23-cv-01194-MEF-JRA            Document 173        Filed 05/02/25      Page 4 of 73 PageID:
                                            7624



 Honorable José R. Almonte                                                              May 2, 2025
                                                                                             Page 4


 day “in the event the deposition cannot be finished in one day.” Ex. 4 (Apr. 9, 2025 Email from
 Z. Li). 1 In an effort to compromise, Plaintiffs offered to extend the deposition to a total of eight
 hours. Defendants did not accept Plaintiffs’ offer, nor did they ever indicate exactly how much
 time they believed they needed or why eight hours (or seven hours for that matter) would be
 insufficient. During the parties’ subsequent telephonic meet-and-confer, Defendants still provided
 no justification for an extended deposition beyond the fact that Dr. Winkler served multiple reports
 and that both Defendants wanted to examine him. Nor did Defendants explain why they would or
 would not coordinate their examination of Dr. Winkler on the numerous issues that are common
 to both Defendants. Nor did Defendants provide even an estimate of how much time they believed
 they needed. Instead, Plaintiffs first learned of Defendants’ purported need for a two-day, 14-hour
 deposition when Defendants provided a draft of this joint dispute letter. Defendants can hardly
 proffer that they made a good faith effort to resolve this dispute when they refused to provide an
 estimate of how much time they believed they actually needed during the conferral process.

         Second, Defendants’ demand for a two-day, 14-hour deposition is excessive and
 unwarranted. As a preliminary matter, Defendants make no mention of the fact that they already
 deposed Dr. Winkler for over four hours on February 8, 2024, on issues related to their
 indefiniteness invalidity defense. In view of the four hours Defendants have already spent deposing
 Dr. Winkler, Plaintiffs’ compromise offer of an eight-hour additional deposition is more than
 reasonable.

         Defendants also fail to acknowledge that all of Dr. Winkler’s opinions concern a single
 asserted claim from a single patent. Submission of multiple reports is hardly unusual in a patent
 case. The reason Dr. Winkler submitted multiple reports in this case is that Defendants collectively
 used five different experts to offer various opinions on a single claim of one patent. For example,
 Dr. Winkler submitted one rebuttal report on validity and four reports on infringement (two
 opening and two reply). Dr. Winkler had to submit four infringement reports because Defendants
 elected to use separate infringement experts. And yet each of Dr. Winkler’s infringement reports
 pertain to the same issue of infringement of the same asserted claim. Apart from Hetero and Lupin
 being different companies, there is extensive overlap in Dr. Winkler’s opinions concerning
 infringement of each product. Thus, the fact that Dr. Winkler served multiple reports in and of
 itself does not justify a two-day, 14-hour deposition.

        Defendants also argue that a two-day, 14-hour deposition is required because the Lupin
 and Hetero matters are not formally consolidated actions; this argument is disingenuous at best.
 Defendants have mounted a coordinated attack on the ’088 patent throughout these cases,
 including sharing multiple experts on the ’088 patent when it suited them. Having elected to mount

 1
   Notably, the Hetero Defendants initially accepted Dr. Winkler’s deposition date without
 exception, see Ex. 5 (Apr. 3, 2025 Email from K. Schaubert), before apparently deciding they
 needed more time and joining the Lupin Defendants in raising an issue over the deposition length,
 see Ex. 4 (Apr. 9, 2025 Email from Z. Li).
Case 2:23-cv-01194-MEF-JRA            Document 173        Filed 05/02/25      Page 5 of 73 PageID:
                                            7625



 Honorable José R. Almonte                                                              May 2, 2025
                                                                                             Page 5


 this coordinated attack on the ’088 patent when convenient for them, Defendants should not be
 heard to complain when they are required to likewise coordinate their deposition of Dr. Winkler.

         Third, Defendants’ request for a two-day, 14-hour deposition is inequitable. Defendants
 argue that Plaintiffs made a “tactical decision” to rely on Dr. Winkler for infringement and validity
 of the ’088 patent. And yet Defendants’ say nothing of their own choice to bury Plaintiffs in eight
 expert reports from five different experts all for one claim of one patent. These reports are listed
 below:

  No.    Defendant(s)                              Report                                   Pages*
   1         Joint       Opening Expert Report of Robert B. Perni, Ph.D.                      66
                         Opening Expert Report of Salvatore D. Lepore, Ph.D.,
   2        Joint                                                                              55
                         Regarding Invalidity of U.S. Patent No. 10,626,088
   3        Joint        Declaration of Mary M. Dothage                                        15
                         Rebuttal Expert Report of William Dichtel, Ph.D., Regarding
   4        Lupin                                                                              29
                         Noninfringement of U.S. Patent No. 10,626,088
   5       Hetero        Rebuttal Expert Report of Daniel L. Norwood, Ph.D.                    26
   6        Joint        Reply Expert Report of Robert B. Perni, Ph.D.                         21
   7        Joint        Reply Expert Report of Salvatore D. Lepore, Ph.D.                     17
   8        Joint        Reply Declaration of Mary M. Dothage                                   8
 *Excluding any exhibits, appendices, and/or attachments.

 Defendants have not offered to make any of their experts available for 14-hour depositions. And
 their strategic decision to overload Plaintiffs with eight expert reports from five different experts
 does not justify subjecting Dr. Winkler to 14 hours of on-the-record deposition testimony for a
 single claim. Their decision to stack experts on one asserted claim in this manner does not warrant
 dragging Plaintiffs’ expert into an excessively lengthy deposition.

         Fourth, the case law cited by Defendants undermines their demand for a 14-hour
 deposition. For example, in U.S. v. PharMerica Corp., et al., the defendant sought a 14-hour
 deposition of a damages expert but the court called that request “extreme.” No. 11-1326-NLH-
 AMD, D.I. 615, Mot. Hr’g Tr. at 21:22–23 (D.N.J. Feb. 16, 2022). Instead, the court ordered “an
 additional three hours, for a total of ten hours . . . over the course of two days.” No. 11-1326-NLH-
 AMD, D.I. 613, Order at 1–2 (D.N.J. Feb. 16, 2022). Defendants also cite to a scheduling order in
 Novartis Pharms. Corp. v. Accord Healthcare Inc., et al., No. 18-1043-KAJ, D.I. 216, Scheduling
 Order ¶ 10(g)(3) (D. Del. Oct. 25, 2018) (“Each deposition of an expert witness shall be limited to
 a maximum of seven (7) hours, except that if an expert is testifying on both validity and
 infringement, then the expert may be deposed for up to an additional seven (7) hours.”). However,
 that same scheduling order consolidated four separate matters into one, id. at 1–2, and the
 proceeding eventually involved more than 40 different defendants. Defendants also rely on The
 Gillette Co. LLC v. Dollar Shave Club, Inc., et al., No. 15-1158-LPS-CJB, D.I. 648 (D. Del. Jan.
 3, 2019). But they fail to acknowledge the relevant facts in that case. The Delaware court allowed
Case 2:23-cv-01194-MEF-JRA            Document 173        Filed 05/02/25      Page 6 of 73 PageID:
                                            7626



 Honorable José R. Almonte                                                             May 2, 2025
                                                                                            Page 6


 no more than 11 hours for the expert deposition in question, id., not the 14 hours Defendants imply.
 Moreover, the expert’s opinions pertained to seven different claims and related to infringement,
 invalidity, and damages. Gillette, C.A. No. 1-15-cv-1158-LPS-CJB, D.I. 646, Joint Letter at 2 (Jan.
 2, 2019). But here, Defendants already took a four-hour deposition of Dr. Winkler on part of the
 invalidity issues in Dr. Winkler’s reports. A seven-hour deposition would allow them a total of 11
 hours of deposition time. Their request for 14 additional hours would result in Dr. Winkler being
 deposed for a total of 18 hours on issues relating to a single patent claim.

         Defendants’ have not shown good cause for departing from the Federal Rules and requiring
 Dr. Winkler to be deposed for 14 hours over two days. Accordingly, the Court should deny
 Defendants’ request. Should the Court agree that some additional time is required notwithstanding
 Defendants deficient request, Plaintiffs respectfully request that the deposition be limited to a
 single day of not more than eight hours.

                                                 ***

        We thank Your Honor for your consideration of this request. Should Your Honor have any
 questions, we are available at your convenience.

                                               Respectfully submitted,

                                               s/ James S. Richter

                                               James S. Richter

 Encl.

 Cc:     All Counsel (by ECF and email)
Case 2:23-cv-01194-MEF-JRA   Document 173   Filed 05/02/25   Page 7 of 73 PageID:
                                   7627




              Exhibit 1
Case
Case 1:11-cv-01326-ESK-AMD
     2:23-cv-01194-MEF-JRA   Document 173
                             Document 615   Filed 05/02/25
                                            Filed 02/17/22   Page 81 of
                                                             Page    of 73
                                                                        27 PageID:
                                                                           PageID:
                                   16953
                                    7628
                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


        UNITED STATES OF AMERICA,           )    11-CV-1326(NLH/AMD)
        et al.,                             )
                                            )
                       Plaintiffs,          )
                                            )
             vs.                            )
                                            )
        PHARMERICA CORPORATION,             )
        et al.,                             )    Camden, NJ
                                            )    February 16, 2022
                       Defendants.          )    12:10 p.m.


                           TRANSCRIPT OF MOTION HEARING
                       BEFORE THE HONORABLE ANN MARIE DONIO
                          UNITED STATES MAGISTRATE JUDGE


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Case
Case 1:11-cv-01326-ESK-AMD
     2:23-cv-01194-MEF-JRA   Document 173
                             Document 615   Filed 05/02/25
                                            Filed 02/17/22   Page 92 of
                                                             Page    of 73
                                                                        27 PageID:
                                                                           PageID:
                                   16954
                                    7629
                                                                                     2

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Case 2:23-cv-01194-MEF-JRA
Case 1:11-cv-01326-ESK-AMD Document
                            Document173
                                     615    Filed05/02/25
                                           Filed  02/17/22    Page10
                                                             Page  3 of
                                                                     of 27
                                                                        73 PageID:
                                                                           PageID:
                                  16955
                                   7630
                                                                                     3

   1                                 I N D E X

   2

   3    ARGUMENT RE: EXTENSION OF TIME:                                    PAGE

   4    Mr. Manthei                                                       6, 12

   5    Mr. Fantini                                                       8, 17

   6

   7    THE COURT:                                                         PAGE

   8    Decision on extension of time                                        19

   9    Decision on dispositive motion deadline                              20

  10    Decision on number of hours for expert deposition                    21

  11

  12    ARGUMENT RE: ALTERNATIVE EXTENSION OF TIME:                        PAGE

  13    Mr. Manthei                                                          23

  14    Mr. Fantini                                                          25

  15

  16    THE COURT:                                                         PAGE

  17    Decision                                                         24, 26

  18

  19

  20

  21

  22

  23

  24

  25
Case 2:23-cv-01194-MEF-JRA
Case 1:11-cv-01326-ESK-AMD Document
                            Document173
                                     615    Filed05/02/25
                                           Filed  02/17/22    Page11
                                                             Page  4 of
                                                                     of 27
                                                                        73 PageID:
                                                                           PageID:
                                  16956
                                   7631
                                      Colloquy                                       4


   1         (The following was heard via telephone conference

   2         at 12:10 p.m.)

   3               THE COURT:    Good morning -- or I should say good

   4    afternoon, everyone.     This is Judge Donio.        We're on the

   5    record in Case No. 11-1326.

   6               This is a telephone conference call to address the

   7    most recent motion filed by defense counsel to extend certain

   8    time periods set forth in the Court's scheduling order, prior

   9    scheduling order.

  10               May I have the appearances for the record beginning

  11    with plaintiff's counsel.

  12               MR. FANTINI:    It's Michael Fantini from Berger

  13    Montague on behalf of relator.

  14               MS. SAVETT:    Sherrie Savett from Berger & Montague

  15    on behalf of relator.

  16               MS. RODRIGUEZ:    Lisa Rodriguez from Schnader

  17    Harrison on behalf of the relator.

  18               MR. MANTHEI:    Good afternoon, Your Honor.           This is

  19    Michael Manthei of Holland & Knight on behalf of the defendant

  20    PharMerica.

  21               MS. GERMANO:    Good afternoon, Your Honor.           Judy

  22    Germano and Gwen Schoenfeld of Germano Law also on behalf of

  23    PharMerica.

  24               MR. SNEAD:    Good afternoon, Your Honor.          Adrian

  25    Snead of Holland & Knight on behalf of PharMerica.
Case 2:23-cv-01194-MEF-JRA
Case 1:11-cv-01326-ESK-AMD Document
                            Document173
                                     615    Filed05/02/25
                                           Filed  02/17/22    Page12
                                                             Page  5 of
                                                                     of 27
                                                                        73 PageID:
                                                                           PageID:
                                  16957
                                   7632
                                       Colloquy                                      5


   1               MS. KOZLOWSKI:   Good afternoon.          This is Anna

   2    Kozlowski from Holland & Knight also on behalf of PharMerica.

   3               MR. KOCORAS:   Good afternoon.        Peter Kocoras of

   4    Thompson Hine on behalf of defendant PharMerica.

   5               THE COURT:   Is that everyone?

   6               MR. FANTINI:   Yes, Your Honor.

   7               THE COURT:   All right.     Presently before the Court

   8    is an application by way of motion from the defendants to

   9    amend the scheduling order dated November 9th, 2021.              The

  10    motion is document -- let me get the docket number -- number

  11    6 --

  12               UNIDENTIFIED SPEAKER:      607.

  13               THE COURT:   607.   607, is that the motion number?

  14    Let me just put it on the record.        I have the docket right in

  15    front of me.    607.

  16               It's been opposed by the plaintiff's counsel and

  17    there's been a reply brief filed also by defense in support of

  18    the request.    And there's a number of requested elements of

  19    relief in the motion, and I wanted to address it on a quick

  20    turnaround in light of the fact that it impacts certain

  21    upcoming deadlines.

  22               Are the parties prepared to argue the application or

  23    motion today?

  24               MR. MANTHEI:   This is Michael Manthei.           Yes, Your

  25    Honor.
Case 2:23-cv-01194-MEF-JRA
Case 1:11-cv-01326-ESK-AMD Document
                            Document173
                                     615    Filed05/02/25
                                           Filed  02/17/22     Page13
                                                              Page  6 of
                                                                      of 27
                                                                         73 PageID:
                                                                            PageID:
                                  16958
                                   7633
                                  Manthei - Argument                                  6


   1               MR. FANTINI:    Yes, Your Honor.          It's Michael Fantini

   2    for relator.

   3               THE COURT:    All right.    Thank you.        Well, this is

   4    defense's motion.    Let me just start with the first request.

   5    That is the request to extend the time for certain expert

   6    depositions.   And let me note that I've reviewed the

   7    submissions.   Some of the expert depositions have been

   8    scheduled and the current deadline for completion of those

   9    depositions I believe is March, and defendants are requesting

  10    some additional time, correct?

  11               MR. MANTHEI:    Yes, Your Honor.          This is Michael

  12    Manthei on behalf of PharMerica.       The current expert

  13    deposition deadline is March 31st and we are asking for an

  14    additional four weeks until April 29th to complete all six

  15    expert depositions.

  16               You are correct, Your Honor, that two depositions

  17    are scheduled for next week back to back on the 24th and 25th.

  18    We anticipate scheduling an additional two depositions in the

  19    month of March, and we are requesting that the period be

  20    extended to April 29th so that we can adequately prepare for

  21    the deposition of relator's primary expert witness, Professor

  22    Shakette (phonetic), whose expert reports span 2,000 written

  23    pages and includes some 4500 data files that our experts are

  24    -- are working on and have been working on for -- for quite

  25    some time, Your Honor.
Case 2:23-cv-01194-MEF-JRA
Case 1:11-cv-01326-ESK-AMD Document
                            Document173
                                     615     Filed05/02/25
                                            Filed  02/17/22    Page14
                                                              Page  7 of
                                                                      of 27
                                                                         73 PageID:
                                                                            PageID:
                                  16959
                                   7634
                                    Manthei - Argument                                7


   1                 We don't believe that it's -- that we can reasonably

   2    prepare adequately for Dr. Shakette's deposition by March 31st

   3    while also preparing for the depositions of all of the other

   4    experts.   And this is due largely to the time that it takes to

   5    evaluate the data files and the exhibits that have been served

   6    with Professor Shakette's expert report.

   7                 Let me stop there, Your Honor, in case you have any

   8    questions.

   9                 THE COURT:   I don't have a question other than are

  10    all the other depositions going to be completed before March

  11    31st?   I thought you had indicated two are scheduled for

  12    February, two more for March, but exactly how many experts are

  13    we talking about?

  14                 MR. MANTHEI:    There are a total of six experts, Your

  15    Honor, and what -- what optimally that we would like to do is

  16    complete obviously the depositions scheduled for February,

  17    then schedule two more experts for March.             That would be

  18    PharMerica's expert, Eric Hines (phonetic) and the relator's

  19    expert, Professor Hoffman.       And then we would like to schedule

  20    in April the deposition of Professor Shakette, who again is

  21    the relator's primary expert, and our rebuttal expert to

  22    Professor Shakette, Dr. Bradford.

  23                 And the reason we would like to put those two in

  24    April again is due to the fact that it is taking quite a bit

  25    of time to evaluate Dr. Shakette's extensive opinion or
Case 2:23-cv-01194-MEF-JRA
Case 1:11-cv-01326-ESK-AMD Document
                            Document173
                                     615    Filed05/02/25
                                           Filed  02/17/22     Page15
                                                              Page  8 of
                                                                      of 27
                                                                         73 PageID:
                                                                            PageID:
                                  16960
                                   7635
                                   Fantini - Argument                                 8


   1    opinions.   His affirmative opinion span 1500 written pages and

   2    his rebuttal opinion is approximately 550 pages.              And that is

   3    under -- underpinned by over 3500 data files.             And as the

   4    affidavit accompanying the motion has set forth, our experts

   5    have estimated that it will take them approximately eight to

   6    ten weeks to ingest, digest, and evaluate the data and

   7    opinions accompanying the rebuttal report.

   8                And I just want to be clear that it's not just the

   9    rebuttal report itself, but what we need to do as is typical

  10    in many cases, we need to compare the rebuttal report to the

  11    affirmative -- the affirmative opinions and underlying data

  12    calculations in order properly to prepare to depose Professor

  13    Shakette, but also in order to prepare our rebuttal witness

  14    Dr. Bradford to be deposed as well, too.             And we don't believe

  15    that this is an unreasonable extension.          It is only four weeks

  16    and we are continuing to pursue all the other depositions in

  17    the meantime.

  18                THE COURT:   All right.    Thank you.

  19                MR. FANTINI:    Your Honor, may I respond?

  20                THE COURT:   Of course.    Please just state your name.

  21                MR. FANTINI:    Michael Fantini.         It's Michael Fantini

  22    on behalf of the relator.

  23                You know, all of the alterations and extensions that

  24    PharMerica seeks are based primarily upon its receipt of the

  25    expert rebuttal report of Dr. Shakette, which we served on
Case 2:23-cv-01194-MEF-JRA
Case 1:11-cv-01326-ESK-AMD Document
                            Document173
                                     615    Filed05/02/25
                                           Filed  02/17/22    Page16
                                                             Page  9 of
                                                                     of 27
                                                                        73 PageID:
                                                                           PageID:
                                  16961
                                   7636
                                Fantini - Argument                                   9


   1    February 3rd.    And I think it's really important that Your

   2    Honor understand the nature of these expert opinions on

   3    relator's side so that you can consider that when you consider

   4    their request.   And I'll keep this very brief.

   5                Professor Shakette's two expert reports focused

   6    primarily upon his analysis of PharMerica's profit margins

   7    when providing drugs to nursing homes' Part A patients.              So he

   8    took certain revenue data and he subtract -- he subtracted

   9    certain costs and revenue to determine margins.             And that's

  10    what's at issue here.    Like this is not overly complicated

  11    material.

  12                With regard to his -- his report, you know,

  13    defendant is throwing out these huge numbers of 500 pages and

  14    such, but the reality is his affirmative report, which we

  15    served back in September, is 76 pages, that's the body of his

  16    report, and only 22 pages are devoted to this margin analysis.

  17    And his rebuttal report is 92 pages and only about 20 pages

  18    are devoted to an alternative margin analysis that he did.

  19                The bulk of his rebuttal report, actually the

  20    majority of it is devoted to a discussion of the evidence in

  21    the record that supports his opinion, all of which PharMerica

  22    has been privy to for a very long time.

  23                Our other expert, Professor Hoffman, wrote one

  24    report which is 24 pages where she simply responds to the

  25    opinions of PharMerica's expert Rossiter (phonetic) regarding
Case
Case 1:11-cv-01326-ESK-AMD
     2:23-cv-01194-MEF-JRA   Document 173
                             Document 615   Filed 05/02/25
                                            Filed 02/17/22   Page 17
                                                             Page 10 of
                                                                     of 73
                                                                        27 PageID:
                                                                           PageID:
                                   16962
                                    7637
                                  Fantini - Argument                                 10


   1    the effect of the PPS system on per diem crisis, and whether

   2    per diem crisis charged under Part A have an impact on

   3    government payment decisions under Part B.           That's the gist of

   4    her report.    It's very straightforward.        It's responsive to

   5    the opinions of their expert.

   6                 And then our third expert is Ken Schafermeyer.            He

   7    wrote one report, it's 28 pages, and he simply discusses

   8    whether PharMerica presented claims to the government for

   9    federal reimbursement and whether kickback tainted claims are

  10    eligible for that reimbursement.

  11                 And so again that's the nature of our expert

  12    opinions.    This is not overly complex material to understand

  13    or -- or prepare for.      And we think the current schedule

  14    provides ample time for the parties to meet these deadlines.

  15                 As Your Honor noted, we have two experts scheduled

  16    for next week in February, one from each side.            So that -- all

  17    that means is PharMerica simply has to take two depositions in

  18    the month of March, Professor Shakette and Professor Hoffman.

  19    That's it.    And then it has to defend two expert depositions.

  20                 I mean given that they have six lawyers on this

  21    phone call, they have the manpower and the resources to take

  22    two expert depositions by March 31st, given that it's only

  23    mid-February.

  24                 We proposed that their two experts be deposed in

  25    mid-March, which is six months after they received our
Case
Case 1:11-cv-01326-ESK-AMD
     2:23-cv-01194-MEF-JRA   Document 173
                             Document 615   Filed 05/02/25
                                            Filed 02/17/22    Page 18
                                                              Page 11 of
                                                                      of 73
                                                                         27 PageID:
                                                                            PageID:
                                   16963
                                    7638
                                  Fantini - Argument                                  11


   1    affirmative reports and three and a half months after they

   2    completed their reports.      They clearly have adequate time to

   3    prepare for those depositions.

   4                And then we proposed that Professor Shakette be

   5    taken at the very end of March, March 30th, which gives

   6    PharMerica two months from the time it received its -- his

   7    rebuttal report on February 3rd to prepare for his deposition.

   8    I mean PharMerica clearly has the ability and resources to

   9    depose Professor Shakette and Professor Hoffman in the month

  10    of March.

  11                And I just want to give one point of comparison.

  12    You know, we did our rebuttal reports on February 3rd, which

  13    was only two months including the Christmas holidays after

  14    getting Dr. Bradford's report and PharMerica's other expert

  15    reports, and it was only a month and a half after we got all

  16    of Dr. Bradford's underlying code and information that we

  17    needed.   So we did that in under two months.            And PharMerica

  18    can certainly depose Professor Shakette within two months

  19    after getting his rebuttal report.

  20                I mean they should be operating under the same time

  21    frame that we're required to operate on.             And -- and so that's

  22    our position on the expert depositions, that -- that they --

  23    they can easily get this done by March 31st.

  24                And I want to make one other point about his

  25    rebuttal report.     First, in his affirmative report he did a
Case
Case 1:11-cv-01326-ESK-AMD
     2:23-cv-01194-MEF-JRA   Document 173
                             Document 615   Filed 05/02/25
                                            Filed 02/17/22    Page 19
                                                              Page 12 of
                                                                      of 73
                                                                         27 PageID:
                                                                            PageID:
                                   16964
                                    7639
                                    Fantini - Argument                                12


   1    margin analysis where he examined the margins of PharMerica on

   2    homes' Part A business.       And then in his rebuttal report, all

   3    he did was respond to and incorporate the criticisms of

   4    PharMerica's expert, Dr. Bradford.

   5                 Dr. Bradford said that Professor Shakette should use

   6    some different data point for revenue, so Professor Shakette

   7    ran that data point using his same method and same analysis

   8    and came up with an alternative margin analysis, which

   9    completely supports his original opinions and which shows the

  10    damages are still over $200 million.

  11                 So that's all we're talking about.          He did an

  12    alternative analysis incorporating the criticisms of

  13    PharMerica's own expert.       And all of this is based on

  14    PharMerica's own data, which it's been in possession of for --

  15    for years.

  16                 So Your Honor should understand that this is not

  17    really complicated and difficult.        And again only 22 pages of

  18    Professor Skakette's rebuttal report are devoted to this

  19    margin analysis.

  20                 So it's our position that the current case schedule

  21    should remain in place and with reasonable diligence the

  22    parties can easily meet these deadlines.

  23                 THE COURT:   Thank you.    Any response?

  24                 MR. MANTHEI:    Yes, Your Honor.        Again, this is

  25    Michael Manthei.     There's quite a bit to unpack there and I
Case
Case 1:11-cv-01326-ESK-AMD
     2:23-cv-01194-MEF-JRA   Document 173
                             Document 615   Filed 05/02/25
                                            Filed 02/17/22   Page 20
                                                             Page 13 of
                                                                     of 73
                                                                        27 PageID:
                                                                           PageID:
                                   16965
                                    7640
                                  Manthei - Argument                                 13


   1    think I need to address several key issues that my colleague

   2    raises in opposition to our motion.

   3                 While only he points to 20 some odd pages of the

   4    report itself deal with the margin analysis, there are 450

   5    pages of exhibits that underlie that 20 some odd pages of

   6    analysis.

   7                 This is not as simple as Mr. Fantini would make it

   8    out to be.    It's not as if these numbers appear on a

   9    spreadsheet, like an Excel spreadsheet in a column where you

  10    just subtract column A from column B and you get column C.

  11                 The underlying data consists of a database that is

  12    comprised of hundreds of tables with millions of data points

  13    in these tables.     There is underlying that significant

  14    computer code that loops the tables together in order to

  15    perform certain calculations that PharMerica has used

  16    historically for dispensing its products.            The data was never

  17    intended to be used in the fashion that Professor Shakette

  18    used it.

  19                 Professor Shakette and -- and relator's other

  20    experts have been in possession of this data for over two

  21    years and have had all of that time to manipulate it, and

  22    they've manipulated it beyond our recognition, which is why it

  23    has taken our experts over 4,000 hours combined time to

  24    evaluate the affirmative report.        And I know that sounds like

  25    a lot, and it is, and that is because what Professor Shakette
Case
Case 1:11-cv-01326-ESK-AMD
     2:23-cv-01194-MEF-JRA   Document 173
                             Document 615   Filed 05/02/25
                                            Filed 02/17/22   Page 21
                                                             Page 14 of
                                                                     of 73
                                                                        27 PageID:
                                                                           PageID:
                                   16966
                                    7641
                                  Manthei - Argument                                 14


   1    did with the data was manipulate it in a variety of different

   2    ways in order to come up with his calculations.

   3                For instance, as Mr. Fantini posits, the concept of

   4    a contribution margin is fairly simple; it is the revenues

   5    minus certain expenses.      But determining what those expenses

   6    are that he subtracts from the revenue and determining what

   7    the revenue actually is, is a complex process that requires

   8    the manipulation of the data in these hundreds of tables.

   9                And in fact in order to determine what expenses to

  10    subtract from revenues, Dr. Shakette performs two regression

  11    analyses that are highly complex and that our experts have

  12    been evaluating for quite some time now and believe are, you

  13    know, highly flawed.

  14                In addition to that, the data are incomplete in the

  15    sense that it does not cover all time frames for all of -- all

  16    of the nursing -- 175 nursing homes that are in this case.

  17    Dr. Shakette used a process to fill in those blanks.              In other

  18    words, he made up data in order to complete his calculations

  19    and we have to understand what that process is and how it

  20    works in order to properly depose him.

  21                And he uses some of the same extrapolations and --

  22    and (inaudible) technologies or -- or -- or processes in his

  23    rebuttal report.     For instance, in paragraph 68 of his

  24    rebuttal report, he claims to use a statistical extrapolation

  25    analysis in order to rebut or -- rebut Dr. Bradford's rebuttal
Case
Case 1:11-cv-01326-ESK-AMD
     2:23-cv-01194-MEF-JRA   Document 173
                             Document 615   Filed 05/02/25
                                            Filed 02/17/22   Page 22
                                                             Page 15 of
                                                                     of 73
                                                                        27 PageID:
                                                                           PageID:
                                   16967
                                    7642
                                  Manthei - Argument                                 15


   1    of his original report.

   2                So this is -- this is much more complex than my

   3    colleague makes it out to be, and that's evidenced by the fact

   4    that while the written portion of the reports may have

   5    totaled, according to Mr. Fantini's calculations, you know, 70

   6    or 80 pages, the exhibits run to 1500 pages and that's just

   7    the exhibits.    The underlying -- underlying data files, all of

   8    which have to be verified, total over 4,000.            So it's -- it's

   9    much more complex.

  10                And the fact that this is PharMerica's data, it

  11    started out as PharMerica's data, but as I -- as I mentioned,

  12    relators have had two years to manipulate it and what's come

  13    back to us is something completely different from what we sent

  14    to them.    So again I think that is oversimplifying what is

  15    going on here.

  16                And -- and finally, Your Honor, the -- the relator's

  17    theory of the case has depended almost entirely on this margin

  18    analysis and they -- they've represented to the Court on

  19    numerous occasions that -- so basically they're saying that,

  20    you know, the profit margin is determinative of their

  21    (inaudible) theory and (inaudible), that Professor Shakette's

  22    calculation of margins is somehow the only meaningful or

  23    relevant calculation for conducting this analysis.

  24                So it is his opinions are at the core of their case

  25    and on that basis alone, PharMerica should have adequate time
Case
Case 1:11-cv-01326-ESK-AMD
     2:23-cv-01194-MEF-JRA   Document 173
                             Document 615   Filed 05/02/25
                                            Filed 02/17/22   Page 23
                                                             Page 16 of
                                                                     of 73
                                                                        27 PageID:
                                                                           PageID:
                                   16968
                                    7643
                                  Manthei - Argument                                 16


   1    to prepare for and to depose Professor Shakette.             And it's not

   2    like we're asking for, you know, six months delay in the -- in

   3    the schedule.    We're asking for four additional weeks to

   4    conduct these depositions.

   5                Yes, I understand that Professor Shakette prepared

   6    his rebuttal report in -- in eight weeks.            During that time,

   7    there were no depositions to be taken or to be prepared for.

   8    He had the luxury of -- of devoting all of his time to that

   9    process, and that's fine.      We don't have any recrimination

  10    about that, but we feel that PharMerica should have sufficient

  11    time based on the advice of its experts.

  12                We necessarily have to rely on our experts to help

  13    us prepare for these depositions and to understand the very

  14    sophisticated calculations that Professor Shakette used in his

  15    -- in his affirmative and rebuttal reports.            And so far I

  16    haven't heard any actual evidence from -- from Mr. Fantini to

  17    rebut the evidence that we put into the record as to the

  18    amount of time it will take our experts to assist us in

  19    preparing for these depositions.

  20                So with that, Your Honor, I would request that --

  21    that Your Honor extend the deposition period for a brief four

  22    weeks so that we can adequately prepare both our -- prepare

  23    for our deposition of Professor Shakette and -- and of our

  24    rebuttal witness, Dr. Bradford.

  25                THE COURT:   All right.     Is there anything further?
Case
Case 1:11-cv-01326-ESK-AMD
     2:23-cv-01194-MEF-JRA   Document 173
                             Document 615   Filed 05/02/25
                                            Filed 02/17/22   Page 24
                                                             Page 17 of
                                                                     of 73
                                                                        27 PageID:
                                                                           PageID:
                                   16969
                                    7644
                                   Fantini - Argument                                17


   1                MR. FANTINI:    Your Honor -- yes, Your Honor.          I'd

   2    like to respond.     It's Michael Fantini.       I'll try to be brief.

   3                I mean first, as I said, in his rebuttal report

   4    Professor Shakette did an alternative margin analysis which

   5    incorporated the components that Dr. Bradford said he should

   6    use.   And so -- in addition the codes that Professor Shakette

   7    used was the code taken from Dr. Bradford's report.             So this

   8    is something in PharMerica's possession.

   9                And then when they finally made some requests for

  10    additional code and information on February 9th and 10th, we

  11    provided that information within hours of their request.               And

  12    the only new code that exists relates to a single footnote in

  13    Professor's Shakette's rebuttal report.

  14                Also, while PharMerica is saying there's 1500 pages

  15    or 500 pages or some big number, those are just calculations

  16    of the margins relating to the 175 nursing homes.             You're

  17    talking about math.     I mean there's no reason that

  18    PharMerica's counsel would question Professor Shakette about

  19    his math, his arithmetic for 175 homes.          I mean I would think

  20    a proper examination would focus on his methodology and

  21    analysis which he used and applied for all the 175 homes at

  22    issue.

  23                So, you know, they're making this sound much more

  24    complicated than it is because they need more time basically

  25    to do every task in the case.
Case
Case 1:11-cv-01326-ESK-AMD
     2:23-cv-01194-MEF-JRA   Document 173
                             Document 615   Filed 05/02/25
                                            Filed 02/17/22   Page 25
                                                             Page 18 of
                                                                     of 73
                                                                        27 PageID:
                                                                           PageID:
                                   16970
                                    7645
                                  Fantini - Argument                                 18


   1                And I just need to respond, Professor Shakette did

   2    not make up data.     The data that PharMerica provided us was

   3    missing in certain respects, so he performed extrapolations,

   4    which is perfectly acceptable.       And he fully explained his

   5    methodology and analysis and his calculations in the body of

   6    his report, which again only 22 pages are devoted to the

   7    margin analysis and the bulk of the rebuttal is devoted to

   8    discussion of the evidence.

   9                So -- and -- and one other point.          Our case does not

  10    solely depend upon Professor Shakette.          No matter how many

  11    times PharMerica says that, it's simply not true.             We have a

  12    mountain of evidence in the form of deposition testimony and

  13    documents that prove that PharMerica knowingly engaged in a

  14    swapping scheme, including employees from the pricing

  15    department that have testified that offering below cost prices

  16    was a common occurrence, common knowledge within the company,

  17    and a fact of doing business.       So we have a wealth of evidence

  18    proving our claims.

  19                Professor Shakette's margin analysis will bolster

  20    our evidence, but it certainly doesn't make up our sole

  21    evidence in the case.      And summary judgment is not going to

  22    focus solely upon the expert reports, it's going to focus on

  23    all of the other evidence that we -- we will present to prove

  24    our claims.

  25                THE COURT:   All right.     I think you're -- you're
Case
Case 1:11-cv-01326-ESK-AMD
     2:23-cv-01194-MEF-JRA   Document 173
                             Document 615   Filed 05/02/25
                                            Filed 02/17/22   Page 26
                                                             Page 19 of
                                                                     of 73
                                                                        27 PageID:
                                                                           PageID:
                                   16971
                                    7646
                                 The Court - Decision                                19


   1    moving somewhat into the merits of the case and I --

   2                MR. FANTINI:    Okay.   That's all -- that's all I

   3    wanted to say.

   4                THE COURT:   Are you complete with your argument?

   5                MR. FANTINI:    On the issue of expert depositions,

   6    yes.   We think PharMerica can take two expert depositions in

   7    the month of March, which would complete all six experts.

   8                THE COURT:   All right.     Is there anything further

   9    from either party on that issue?

  10                MR. MANTHEI:    This is Michael Manthei again, Your

  11    Honor.   No, I will rest on my arguments and on the papers.

  12                THE COURT:   Anything further from plaintiff's

  13    counsel?

  14                MR. FANTINI:    No, Your Honor.

  15                THE COURT:   All right.     I have reviewed the

  16    submissions and I've considered the arguments of counsel.               The

  17    matter is governed by good cause.        I'll note that the request

  18    was made well before the expiration of the prior deadline and

  19    consequently the standard for the Court is whether there's

  20    good cause to extend the deadline.

  21                The request is for an additional month to take

  22    depositions of experts.      I don't think that an additional

  23    month is necessary, but I will grant a limited extension,

  24    finding good cause for a two-week extension in light of when

  25    the rebuttal report was served and the scope -- or that is the
Case
Case 1:11-cv-01326-ESK-AMD
     2:23-cv-01194-MEF-JRA   Document 173
                             Document 615   Filed 05/02/25
                                            Filed 02/17/22   Page 27
                                                             Page 20 of
                                                                     of 73
                                                                        27 PageID:
                                                                           PageID:
                                   16972
                                    7647
                                 The Court - Decision                                20


   1    length of the rebuttal report of the expert.

   2                Now, the parties make a lot of argument about what's

   3    in the reports and how long they are and how important they

   4    are.   Really for the Court it's the timing matter.            If a

   5    rebuttal report of significant length, despite the arguments

   6    of plaintiff that it's just a second margin analysis, is

   7    served on February 3rd, I find good cause to briefly extend

   8    the 3/31/22 deadline for expert depositions to April the 15th.

   9    That's a two-week extension.

  10                I think that's a viable work extension.           The parties

  11    can figure out what dates.      It also gives opportunity to have

  12    to deal with any potential cancellations.            And the Court

  13    concludes that the defendants have met their burden of

  14    demonstrating good cause to extend for a very limited time,

  15    two weeks, the depositions of the experts.

  16                Now, I'll note that plaintiff's counsel points out

  17    that there's six lawyers on the phone for defendants and that

  18    they could easily take two depositions, but as I indicated, I

  19    feel that the defendants have demonstrated good cause for a

  20    short extension of that time period.

  21                Now, I'm going to move right to the next issue,

  22    which is the dispositive motion deadline.            I don't need any

  23    further argument on the issue because I'm not going to address

  24    whether the dispositive motions and Daubert motions should be

  25    bifurcated with the Daubert motions deadline being first.
Case
Case 1:11-cv-01326-ESK-AMD
     2:23-cv-01194-MEF-JRA   Document 173
                             Document 615   Filed 05/02/25
                                            Filed 02/17/22   Page 28
                                                             Page 21 of
                                                                     of 73
                                                                        27 PageID:
                                                                           PageID:
                                   16973
                                    7648
                                 The Court - Decision                                21


   1                I'm going to dismiss that portion of the motion and

   2    direct you to file a letter request to the district judge.

   3    That's really a matter that the district judge will need to

   4    decide on, how he would like to proceed with those motions.

   5                What I'm going to do is keep the deadline the same

   6    and then defense counsel can submit their letter to Judge

   7    Hillman, but I will push it two weeks because I'm pushing the

   8    expert depositions two weeks.       So the new deadline for

   9    dispositive motions and Daubert motions currently scheduled

  10    for 5/13/2021 will be pushed to 5/27/21 and -- I'm sorry, '21

  11    -- '22.   5/27/22.

  12                And I'm dismissing without prejudice the portion of

  13    the motion that requests that only the Daubert motions be

  14    scheduled first, and without any opinion on whether that's

  15    correct or not, directing the parties to submit with letter

  16    requests that issue to the district judge.           You now have a new

  17    deadline to indicate to the district judge, but it is still

  18    one deadline and defense counsel can take that up with the

  19    district judge.

  20                And the last issue is the number of hours for the

  21    deposition of the one expert, and plaintiff's oppose defense's

  22    request for a full 14 hours.        Defense requests 14 hours.         That

  23    is extreme, in the Court's view.        I don't need to hear any

  24    additional argument, unless there's something the parties want

  25    to bring to the Court's attention that's not already in the
Case
Case 1:11-cv-01326-ESK-AMD
     2:23-cv-01194-MEF-JRA   Document 173
                             Document 615   Filed 05/02/25
                                            Filed 02/17/22   Page 29
                                                             Page 22 of
                                                                     of 73
                                                                        27 PageID:
                                                                           PageID:
                                   16974
                                    7649
                                 The Court - Decision                                22


   1    briefs on that issue.

   2                MR. MANTHEI:    Nothing that's not already in the

   3    briefs, Your Honor.      This is Michael Manthei.

   4                MR. FANTINI:    It's Michael Fantini.        I don't have

   5    anything in addition to say that's not in our letters.              But

   6    all the other experts are being deposed within seven hours.

   7                THE COURT:    All right.    I understand that, but I

   8    will note that this expert has extensive submissions, so I'm

   9    going to grant a limited time additional.            I'll grant an

  10    additional three hours, a total of 10 hours.            You can break it

  11    down in two days.

  12                If the expert is evasive, which I don't expect that

  13    to be an issue, and the defendants believe at that time that

  14    there's been time spent on evasive answering or other reasons

  15    that aren't appropriate under the court rules, then after the

  16    first deposition plaintiff's -- defense can send me a letter

  17    immediately and ask -- or set up a call at that deposition and

  18    ask for more time.     But I feel that 10 hours is a reasonable

  19    time period.

  20                I have seen, it's not unusual for experts in cases

  21    where there are significant reports to be deposed for more

  22    than seven hours.     And I have reviewed the submissions and I

  23    find that there's good cause for a limited time period

  24    extension of 10 hours total.

  25                So the motion is granted in part and dismissed in
Case
Case 1:11-cv-01326-ESK-AMD
     2:23-cv-01194-MEF-JRA   Document 173
                             Document 615   Filed 05/02/25
                                            Filed 02/17/22    Page 30
                                                              Page 23 of
                                                                      of 73
                                                                         27 PageID:
                                                                            PageID:
                                   16975
                                    7650
                                   Manthei - Argument                                 23


   1    prejudice -- without prejudice in part and denied to the

   2    extent there was a request for 14 hours.             And we'll do an

   3    order that makes it clear.

   4                Is there anything further for today?

   5                MR. MANTHEI:    Your Honor, this is Michael Manthei

   6    again.   I just want to make sure that I understand your ruling

   7    regarding the deadlines for Daubert and dispositive motions.

   8    We did request that they be bifurcated and I understand that

   9    that's an issue that you want us to address to the district

  10    court judge, Judge Hillman, in a letter request.

  11                We made an alternative request also for an extension

  12    of time for the filing of Daubert and -- and dispositive

  13    motions.    We -- we strenuously, you know, believe that six

  14    weeks is not enough time to file dispositive and Daubert

  15    motions in a case of this magnitude.

  16                We have 175 nursing homes, each with their own data

  17    and own facts unique to them, and the relator and the Court

  18    have stated throughout the course of this litigation that

  19    relator must prove its case on a nursing home by nursing home

  20    basis.

  21                We anticipate that the statement of undisputed facts

  22    is going to run into the hundreds of pages and that there will

  23    be voluminous exhibits, you know, pages and pages of -- of

  24    deposition testimony.      And we are actually internally and

  25    discussing with counsel our -- you know, just the mechanics of
Case
Case 1:11-cv-01326-ESK-AMD
     2:23-cv-01194-MEF-JRA   Document 173
                             Document 615    Filed 05/02/25
                                             Filed 02/17/22    Page 31
                                                               Page 24 of
                                                                       of 73
                                                                          27 PageID:
                                                                             PageID:
                                   16976
                                    7651
                                  Manthei - Argument                                   24


   1    this.   We're -- we're thinking that we have to allow at least

   2    two weeks just to file through the ECF, based upon our

   3    experience with the ECF and the -- and the volume of -- of

   4    materials that are going to have to be filed.

   5                I would respectfully ask the Court to reconsider our

   6    request to extend the deadline for dispositive motions.                And I

   7    guess I'm not sure if what you're saying is that that will be

   8    decided by the district court judge or if that is something

   9    that you are going to decide.

  10                THE COURT:   Okay.      Let me -- let me address it this

  11    way.    I'm not deciding that at this point because I don't know

  12    what the district judge is going to request as it relates to

  13    Daubert versus dispositive.         For example, if the district

  14    judge agrees with you and says, okay, just file your Daubert,

  15    then that's the deadline, unless the district judge agrees

  16    that additional time is necessary or asks me to revisit that

  17    issue in light of whatever his decision is on the distinction

  18    between Daubert and dispositive motions.

  19                Second, I assume and I guess maybe I should just

  20    confirm that everybody's working on them already because the

  21    fact discovery is over and the only difference would be, would

  22    be what's in your expert depositions that could potentially

  23    impact a dispositive motion.        So I can't imagine that the

  24    dispositive motions aren't beginning -- the parties aren't

  25    beginning the process of preparing them.              And if I'm wrong on
Case
Case 1:11-cv-01326-ESK-AMD
     2:23-cv-01194-MEF-JRA   Document 173
                             Document 615   Filed 05/02/25
                                            Filed 02/17/22   Page 32
                                                             Page 25 of
                                                                     of 73
                                                                        27 PageID:
                                                                           PageID:
                                   16977
                                    7652
                                   Fantini - Argument                                25


   1    that, you should let me know.

   2                And, third, let me just ask the plaintiff's counsel,

   3    are you also contemplating dispositive or Daubert motions?

   4                MR. FANTINI:    Well, we -- we may file Daubert

   5    motions.    They have three experts.       We're -- we're continuing

   6    to analyze that.     I would think that we might file Daubert

   7    motions.    With regard to dispositive motions, I don't think

   8    that's our current intention, no.

   9                But I wanted just to respond to PharMerica just put

  10    in that alternative proposal, that if the Daubert and

  11    dispositive is simultaneous, they want till the end of August

  12    to file those briefs, which as Your Honor just pointed out

  13    with regard to dispositive, that's a year after fact discovery

  14    ended, which was this past August, and it's seven months after

  15    they have our rebuttal report.       So they have all of our expert

  16    reports in their hands.

  17                And as Your Honor pointed out, it's the same thing

  18    I've been telling them all along, they should be preparing

  19    their briefs now.     They don't need till the end of August to

  20    file these briefs.     They could have been writing summary

  21    judgment -- their summary judgment brief for a very long time

  22    now.   And so we strongly oppose that request and especially

  23    giving Your Honor just extended it to the end of May.              We

  24    think that's sufficient time.

  25                THE COURT:   Well, as I indicated, I'm dismissing
Case
Case 1:11-cv-01326-ESK-AMD
     2:23-cv-01194-MEF-JRA   Document 173
                             Document 615   Filed 05/02/25
                                            Filed 02/17/22   Page 33
                                                             Page 26 of
                                                                     of 73
                                                                        27 PageID:
                                                                           PageID:
                                   16978
                                    7653
                                  The Court - Decision                               26


   1    that portion of the motion without prejudice because I want to

   2    see what the district judge decides with respect to the two

   3    different aspects of the filings which could impact that.               And

   4    once that decision is made, if the defendants still believe

   5    they need additional time, they would need to indicate to me

   6    in their submissions with whatever renewed request why they

   7    aren't done yet, you know, why it's going to take more time.

   8                 I'm not really sure about the two weeks to do ECF

   9    uploading.    That's a new one for me.       I don't -- maybe that

  10    happens.    I haven't seen that; I haven't heard about that.             I

  11    have never had that issue.      But I'll leave it for another day

  12    for now.    I wanted to address what I addressed today.

  13                 MR. FANTINI:   Okay.   Thank you, Your Honor.

  14                 THE COURT:   So we're clear for defense counsel and I

  15    thank you for bringing that up again so it's clear.             I am

  16    dismissing without prejudice your request to further extend --

  17    your alternative request to further extend the dispositive

  18    motion deadline until such time as the district judge resolves

  19    the question of what motions should be filed in what order.

  20    But for now, it's a March -- I mean a May 27th deadline.               So

  21    you should be working toward that deadline.

  22                 MR. MANTHEI:   Yes, Your Honor.

  23                 THE COURT:   All right.    Anything further from any

  24    counsel?

  25                 MR. FANTINI:   None for the plaintiff, Your Honor.
Case
Case 1:11-cv-01326-ESK-AMD
     2:23-cv-01194-MEF-JRA   Document 173
                             Document 615   Filed 05/02/25
                                            Filed 02/17/22   Page 34
                                                             Page 27 of
                                                                     of 73
                                                                        27 PageID:
                                                                           PageID:
                                   16979
                                    7654
                                 The Court - Decision                                27


   1                MR. MANTHEI:    Nothing from PharMerica, Your Honor.

   2                THE COURT:   All right.     Counsel, please stay safe.

   3    Have a nice day.     We are adjourned.

   4          (Proceedings concluded at 12:46 p.m.)

   5                                   * * * * *

   6                          C E R T I F I C A T I O N

   7                I, Roxanne Galanti, court approved transcriber,

   8    certify that the foregoing is a correct transcript from the

   9    official electronic sound recording of the proceedings in the

  10    above-entitled matter.

  11        /s/Roxanne Galanti                          February 17, 2022

  12    ROXANNE GALANTI

  13    DIANA DOMAN TRANSCRIBING, LLC

  14

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Case 2:23-cv-01194-MEF-JRA   Document 173   Filed 05/02/25   Page 35 of 73 PageID:
                                    7655




               Exhibit 2
Case
 Case2:23-cv-01194-MEF-JRA   Document
       1:18-cv-01043-LPS Document 216 173    Filed 05/02/25
                                      Filed 10/25/18          Page
                                                       Page 1 of    36 of 73#:PageID:
                                                                 26 PageID     1771
                                     7656
Case
 Case2:23-cv-01194-MEF-JRA   Document
       1:18-cv-01043-LPS Document 216 173    Filed 05/02/25
                                      Filed 10/25/18          Page
                                                       Page 2 of    37 of 73#:PageID:
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                                     7657
Case
 Case2:23-cv-01194-MEF-JRA   Document
       1:18-cv-01043-LPS Document 216 173    Filed 05/02/25
                                      Filed 10/25/18          Page
                                                       Page 3 of    38 of 73#:PageID:
                                                                 26 PageID     1773
                                     7658
Case
 Case2:23-cv-01194-MEF-JRA   Document
       1:18-cv-01043-LPS Document 216 173    Filed 05/02/25
                                      Filed 10/25/18          Page
                                                       Page 4 of    39 of 73#:PageID:
                                                                 26 PageID     1774
                                     7659
Case
 Case2:23-cv-01194-MEF-JRA   Document
       1:18-cv-01043-LPS Document 216 173    Filed 05/02/25
                                      Filed 10/25/18          Page
                                                       Page 5 of    40 of 73#:PageID:
                                                                 26 PageID     1775
                                     7660
Case
 Case2:23-cv-01194-MEF-JRA   Document
       1:18-cv-01043-LPS Document 216 173    Filed 05/02/25
                                      Filed 10/25/18          Page
                                                       Page 6 of    41 of 73#:PageID:
                                                                 26 PageID     1776
                                     7661
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 Case2:23-cv-01194-MEF-JRA   Document
       1:18-cv-01043-LPS Document 216 173    Filed 05/02/25
                                      Filed 10/25/18          Page
                                                       Page 7 of    42 of 73#:PageID:
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                                     7662
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 Case2:23-cv-01194-MEF-JRA   Document
       1:18-cv-01043-LPS Document 216 173    Filed 05/02/25
                                      Filed 10/25/18          Page
                                                       Page 8 of    43 of 73#:PageID:
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 Case2:23-cv-01194-MEF-JRA   Document
       1:18-cv-01043-LPS Document 216 173    Filed 05/02/25
                                      Filed 10/25/18          Page
                                                       Page 9 of    44 of 73#:PageID:
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 Case2:23-cv-01194-MEF-JRA  Document
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                                                            of 26 46 of 73 #:
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 Case2:23-cv-01194-MEF-JRA  Document
      1:18-cv-01043-LPS Document     173 10/25/18
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                                                            of 26 48 of 73 #:
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 Case2:23-cv-01194-MEF-JRA  Document
      1:18-cv-01043-LPS Document     173 10/25/18
                                 216 Filed Filed 05/02/25
                                                    Page 14 Page
                                                            of 26 49 of 73 #:
                                                                  PageID   PageID:
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 Case2:23-cv-01194-MEF-JRA  Document
      1:18-cv-01043-LPS Document     173 10/25/18
                                 216 Filed Filed 05/02/25
                                                    Page 15 Page
                                                            of 26 50 of 73 #:
                                                                  PageID   PageID:
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 Case2:23-cv-01194-MEF-JRA  Document
      1:18-cv-01043-LPS Document     173 10/25/18
                                 216 Filed Filed 05/02/25
                                                    Page 16 Page
                                                            of 26 51 of 73 #:
                                                                  PageID   PageID:
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 Case2:23-cv-01194-MEF-JRA  Document
      1:18-cv-01043-LPS Document     173 10/25/18
                                 216 Filed Filed 05/02/25
                                                    Page 17Page
                                                           of 26 52 of 73 #:
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 Case2:23-cv-01194-MEF-JRA  Document
      1:18-cv-01043-LPS Document     173 10/25/18
                                 216 Filed Filed 05/02/25
                                                    Page 18 Page
                                                            of 26 53 of 73 #:
                                                                  PageID   PageID:
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 Case2:23-cv-01194-MEF-JRA  Document
      1:18-cv-01043-LPS Document     173 10/25/18
                                 216 Filed Filed 05/02/25
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                                                            of 26 54 of 73 #:
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 Case2:23-cv-01194-MEF-JRA  Document
      1:18-cv-01043-LPS Document     173 10/25/18
                                 216 Filed Filed 05/02/25
                                                    Page 20Page
                                                           of 26 55 of 73 #:
                                                                 PageID   PageID:
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 Case2:23-cv-01194-MEF-JRA  Document
      1:18-cv-01043-LPS Document     173 10/25/18
                                 216 Filed Filed 05/02/25
                                                    Page 21Page
                                                           of 26 56 of 73 #:
                                                                 PageID   PageID:
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 Case2:23-cv-01194-MEF-JRA  Document
      1:18-cv-01043-LPS Document     173 10/25/18
                                 216 Filed Filed 05/02/25
                                                    Page 22Page
                                                           of 26 57 of 73 #:
                                                                 PageID   PageID:
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Case
 Case2:23-cv-01194-MEF-JRA  Document
      1:18-cv-01043-LPS Document     173 10/25/18
                                 216 Filed Filed 05/02/25
                                                    Page 23 Page
                                                            of 26 58 of 73 #:
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 Case2:23-cv-01194-MEF-JRA  Document
      1:18-cv-01043-LPS Document     173 10/25/18
                                 216 Filed Filed 05/02/25
                                                    Page 24 Page
                                                            of 26 59 of 73 #:
                                                                  PageID   PageID:
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                                    7679
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 Case2:23-cv-01194-MEF-JRA  Document
      1:18-cv-01043-LPS Document     173 10/25/18
                                 216 Filed Filed 05/02/25
                                                    Page 25 Page
                                                            of 26 60 of 73 #:
                                                                  PageID   PageID:
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Case
 Case2:23-cv-01194-MEF-JRA  Document
      1:18-cv-01043-LPS Document     173 10/25/18
                                 216 Filed Filed 05/02/25
                                                    Page 26 Page
                                                            of 26 61 of 73 #:
                                                                  PageID   PageID:
                                                                              1796
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Case 2:23-cv-01194-MEF-JRA   Document 173   Filed 05/02/25   Page 62 of 73 PageID:
                                    7682




               Exhibit 3
      Case 2:23-cv-01194-MEF-JRA        Document 173       Filed 05/02/25     Page 63 of 73 PageID:
                                               7683
                          Query   Reports     Utilities   Help    Log Out

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                                      U.S. District Court
                              District of Delaware (Wilmington)
                       CIVIL DOCKET FOR CASE #: 1:15-cv-01158-LPS


The Gillette Company LLC v. Dollar Shave Club, Inc.              Date Filed: 12/17/2015
Assigned to: Judge Leonard P. Stark                              Date Terminated: 04/02/2019
Related Cases: 1:18-cv-01306-LPS-CJB                             Jury Demand: Both
                1:18-cv-00876-LPS                                Nature of Suit: 830 Patent
Case in other court: Third Circuit, 17-02741                     Jurisdiction: Federal Question
Cause: 35:271 Patent Infringement
Plaintiff
The Gillette Company                              represented by Jack B. Blumenfeld
TERMINATED: 08/13/2018                                           Morris, Nichols, Arsht & Tunnell LLP
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                                                                 Wilmington, DE 19899
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     Case 2:23-cv-01194-MEF-JRA         Document 173        Filed 05/02/25 Page 64 of 73 PageID:
                                               7684               (See above for address)
                                                                  TERMINATED: 07/17/2018

                                                                  Terry L. Wit
                                                                  (See above for address)
                                                                  TERMINATED: 07/17/2018


V.
Counter Defendant
The Gillette Company LLC                          represented by Jack B. Blumenfeld
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                                  Rodger Dallery Smith , II
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED


Date Filed     #    Docket Text
12/17/2015      1 COMPLAINT FOR PATENT INFRINGEMENT filed with Jury Demand against Dollar
                  Shave Club, Inc. - Magistrate Consent Notice to Pltf. ( Filing fee $ 400, receipt number
                  0311-1845756.) - filed by The Gillette Company. (Attachments: # 1 Exhibit A, # 2 Civil
                  Cover Sheet)(cna) (Entered: 12/17/2015)
12/17/2015      2 Notice, Consent and Referral forms re: U.S. Magistrate Judge jurisdiction. (cna) (Entered:
                  12/17/2015)
12/17/2015      3 Report to the Commissioner of Patents and Trademarks for Patent/Trademark Number(s)
                  6,684,513. (cna) (Entered: 12/17/2015)
12/17/2015      4 Disclosure Statement pursuant to Rule 7.1: identifying Corporate Parent Proctor &
                  Gamble Co. for The Gillette Company filed by The Gillette Company. (cna) (Entered:
                  12/17/2015)
12/17/2015          Summons Issued with Magistrate Consent Notice attached as to Dollar Shave Club, Inc.
                    on 12/17/2015. Requesting party or attorney should pick up issued summons at the Help
                    Desk, Room 4209, or call 302-573-6170 and ask the Clerk to mail the summons to them.
                    (cna) (Entered: 12/17/2015)
12/21/2015      5 SUMMONS Returned Executed by The Gillette Company. Dollar Shave Club, Inc.
                  served on 12/21/2015, answer due 1/11/2016. (Smith, Rodger) (Entered: 12/21/2015)
12/23/2015          Case Assigned to Judge Leonard P. Stark. Please include the initials of the Judge (LPS)
                    after the case number on all documents filed. (rjb) (Entered: 12/23/2015)
01/04/2016      6 ORAL REFERRAL ORDER: This case will be governed by Judge Stark's Revised
                  Procedures for Managing Patent Cases (see www.ded.uscourts.gov). In accordance with
                  the Revised Procedures, IT IS HEREBY ORDERED that: 1. any and all matters relating
                  to scheduling, including entry of a Scheduling Order, are referred to Magistrate Judge
                  Burke; 2. any and all motions to dismiss, stay, and/or transfer venue, relating to all or any
                  part of the case, whenever such motions may be filed, are referred to Judge Burke for
                  disposition or report and recommendation, to the full extent permitted by the
                  Constitution, statute, and rule; and 3. within seven (7) days of the date of this Referral
                  Order, the plaintiff(s) shall file the Procedures Order, which is found on Judge Stark's
    Case 2:23-cv-01194-MEF-JRA Document 173               Filed 05/02/25     Page 65 of 73 PageID:
                  (ntl) (Entered: 01/03/2019) 7685

01/03/2019   648 ORAL ORDER: Having reviewed the parties' letter (D.I. 646), IT IS HEREBY
                 ORDERED that Defendants may depose Dr. Ross (Plaintiff's expert on infringement and
                 on at least "a portion of validity") for no more than eleven (11) hours and Defendants may
                 also depose Dr. Ennis (another Plaintiff expert on validity) for no more than seven (7)
                 hours. Plaintiff's assertions that "Defendants' position is unsupported" and that
                 depositions greater than seven (7) hours are "always... done on an agreed basis before the
                 scheduling conference" are incorrect; their contention that what Defendants propose "is
                 manifestly unfair" is unpersuasive. When an expert opines on infringement and invalidity
                 the party retaining that expert should expect that a deposition of seven (7) hours may be
                 insufficient. Here, the Court finds that eleven (11) hours is a reasonable and appropriate
                 amount of time to depose Dr. Ross and that there is no meritorious basis to subtract
                 deposition time from Plaintiff's other invalidity expert. ORDERED by Judge Leonard P.
                 Stark on 1/3/19. (ntl) (Entered: 01/03/2019)
01/07/2019   649 NOTICE OF SERVICE of Reply Expert Report of Caroline A. Ross, Ph.D. Regarding
                 Infringement filed by The Gillette Company LLC.(Smith, Rodger) (Entered: 01/07/2019)
01/08/2019   650 NOTICE to Take Deposition of Daniel Ennis, Ph.D, DSc on January 16, 2019 filed by
                 Dollar Shave Club, Inc., Dorco Company Ltd., Pace Shave Inc..(Fry, David) (Entered:
                 01/08/2019)
01/08/2019   651 NOTICE to Take Deposition of Donald J. Bray, Richard A. Haber, Ph.D. and James E.
                 Malackowski on January 11, 2019; January 16, 2019 and January 16, 2019, respectively
                 filed by The Gillette Company LLC.(Flynn, Michael) (Entered: 01/08/2019)
01/09/2019   652 NOTICE to Take Deposition of Caroline A. Ross, Ph.D. on January 11 and January 12,
                 2019 at 9:00 a.m. filed by Dollar Shave Club, Inc., Dorco Company Ltd., Pace Shave
                 Inc..(Fry, David) (Entered: 01/09/2019)
01/10/2019   653 STIPULATION TO EXTEND TIME for the parties to file case dispositive and Daubert
                 motions to January 22, 2019 - filed by The Gillette Company LLC. (Flynn, Michael)
                 (Entered: 01/10/2019)
01/10/2019   654 NOTICE OF SERVICE of (1) Defendant Dollar Shave Club, Inc.'s Fifth Amended Initial
                 Disclosures Pursuant to Rule 26(a)(1) and Paragraph 3 of the Delaware Default Standard
                 for Discovery (2) Defendant Pace Shave, Inc.'s Third Amended Initial Disclosures
                 Pursuant to Rule 26(a)(1) and Paragraph 3 of the Delaware Default Standard for
                 Discovery (3) Defendant Dorco Company, Ltd.'s Third Supplemental Initial Disclosures
                 Pursuant to Rule 26(a)(1) and Paragraph 3 of the Delaware Default Standard for
                 Discovery filed by Dollar Shave Club, Inc., Dorco Company Ltd., Pace Shave Inc..(Fry,
                 David) (Entered: 01/10/2019)
01/14/2019   655 MOTION for Pro Hac Vice Appearance of Attorney Kevin P. Martin - filed by The
                 Gillette Company LLC. (Smith, Rodger) (Entered: 01/14/2019)
01/15/2019        SO ORDERED, re 653 STIPULATION TO EXTEND TIME for the parties to file case
                  dispositive and Daubert motions to January 22, 2019 filed by The Gillette Company LLC.
                  Signed by Judge Leonard P. Stark on 1/14/19. (ntl) (Entered: 01/15/2019)
01/16/2019        SO ORDERED, re 655 MOTION for Pro Hac Vice Appearance of Attorney Kevin P.
                  Martin filed by The Gillette Company LLC. Signed by Judge Leonard P. Stark on
                  1/16/19. (ntl) (Entered: 01/16/2019)
01/22/2019   656 MOTION for Summary Judgment of No Infringement - filed by Dollar Shave Club, Inc.,
                 Dorco Company Ltd., Pace Shave Inc.. (Attachments: # 1 Text of Proposed Order)(Fry,
                 David) (Entered: 01/22/2019)
Case 2:23-cv-01194-MEF-JRA   Document 173   Filed 05/02/25   Page 66 of 73 PageID:
                                    7686




               Exhibit 4
Case 2:23-cv-01194-MEF-JRA                   Document 173                Filed 05/02/25             Page 67 of 73 PageID:
                                                    7687

  From:             Davin Guinn
  To:               Zhibin Li; Firdapse-Litigation; Chevalier, Charles H.; Gaddis, Christine A.; Caracappa, Michael V.
  Cc:               CD-Lupin-Amifampridine; jrichter@midlige-richter.com; Lukas, Aaron; Coblentz, W. Blake; Schaubert, Keri;
                    eabraham@hillwallack.com; kbutler@hillwallack.com; William P. Murtha
  Subject:          RE: Catalyst v. Lupin - Expert Depositions
  Date:             Tuesday, April 15, 2025 12:14:03 PM
  Attachments:      image001.png
                    image002.png




  Zhibin,

  Thank you for confirming Lupin’s acceptance of May 16 for the deposition of Dr. Blair.

  Given that Dr. Winkler’s expert opinions pertain to only one asserted claim of one asserted patent
  (the ’088 patent), Plaintiffs are not willing to make him available for deposition on two separate
  days. As a compromise, however, Plaintiffs are amenable to making Dr. Winkler available for an
  additional hour (8 total hours) on May 22. Please confirm we have an agreement.

  Best,
  Davin


  Davin Guinn
  Associate
  Sterne, Kessler, Goldstein & Fox P.L.L.C.
  Email: dguinn@sternekessler.com
  Direct: 202.772.8530

  IP Assistant: Renée Moore
  Direct: 202.772.8820 Main: 202.371.2600


  From: Zhibin Li <zhibin.li@bipc.com>
  Sent: Wednesday, April 9, 2025 4:45 PM
  To: Davin Guinn <dguinn@sternekessler.com>; Firdapse-Litigation <Firdapse-
  Litigation@sternekessler.com>; Chevalier, Charles H. <CChevalier@gibbonslaw.com>; Gaddis,
  Christine A. <cgaddis@gibbonslaw.com>; Caracappa, Michael V. <MCaracappa@gibbonslaw.com>
  Cc: CD-Lupin-Amifampridine <Lupin-Amifampridine@bipc.com>; jrichter@midlige-richter.com;
  Lukas, Aaron <ALukas@cozen.com>; Coblentz, W. Blake <wcoblentz@cozen.com>; Schaubert, Keri
  <KSchaubert@cozen.com>; eabraham@hillwallack.com; kbutler@hillwallack.com; William P. Murtha
  <wmurtha@hillwallack.com>
  Subject: RE: Catalyst v. Lupin - Expert Depositions

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  Counsel,

  Lupin accepts May 16 for Dr. Blair’s deposition.
Case 2:23-cv-01194-MEF-JRA              Document 173          Filed 05/02/25   Page 68 of 73 PageID:
                                               7688

  Dr. Winkler has submitted five reports (on infringement and validity) in both Lupin and
  Hetero litigations. Lupin plans to coordinate with Hetero for the Winkler deposition, however,
  Lupin and Hetero request that Plaintiffs make Dr. Winkler available for deposition on both
  May 22 and 23, in the event the deposition cannot be finished in one day with two parties
  needing to examine him. Please let us know if plaintiffs agree to this proposal or let us know
  your availability for a meet and confer to discuss.

  Zhibin

  Zhibin Li
  Shareholder

  640 5th Avenue, 9th Floor
  New York, NY 10019-6102
  212 440 4407 (o)
  860 204 2562 (c)
  zhibin.li@bipc.com


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  From: Davin Guinn <dguinn@sternekessler.com>
  Sent: Wednesday, April 9, 2025 10:48 AM
  To: CD-Lupin-Amifampridine <Lupin-Amifampridine@bipc.com>; jrichter@midlige-richter.com
  Cc: Firdapse-Litigation <Firdapse-Litigation@sternekessler.com>; Chevalier, Charles H.
  <CChevalier@gibbonslaw.com>; Gaddis, Christine A. <cgaddis@gibbonslaw.com>; Caracappa,
  Michael V. <MCaracappa@gibbonslaw.com>
  Subject: RE: Catalyst v. Lupin - Expert Depositions

  Counsel,

  Please confirm your acceptance of the dates below for the depositions of Drs. Blair and Winkler.

  Plaintiffs would like to finalize these dates as soon as possible.

  Best,
  Davin


  Davin Guinn
  Associate
  Sterne, Kessler, Goldstein & Fox P.L.L.C.
  Email: dguinn@sternekessler.com
  Direct: 202.772.8530

  IP Assistant: Renée Moore
  Direct: 202.772.8820 Main: 202.371.2600


  From: Davin Guinn <dguinn@sternekessler.com>
Case 2:23-cv-01194-MEF-JRA              Document 173         Filed 05/02/25        Page 69 of 73 PageID:
                                               7689

  Sent: Friday, April 4, 2025 11:51 AM
  To: CD-Lupin-Amifampridine <Lupin-Amifampridine@bipc.com>; jrichter@midlige-richter.com
  Cc: Firdapse-Litigation <Firdapse-Litigation@sternekessler.com>; Chevalier, Charles H.
  <CChevalier@gibbonslaw.com>; Gaddis, Christine A. <cgaddis@gibbonslaw.com>; Caracappa,
  Michael V. <MCaracappa@gibbonslaw.com>
  Subject: RE: Catalyst v. Lupin - Expert Depositions

  Counsel,

  Please confirm acceptance of the dates specified below as soon as possible.

  For the sake of coordination, we note that counsel for Hetero has already accepted these dates. Dr.
  Blair and Dr. Winkler will only be made available once.

  Thanks,
  Davin


  Davin Guinn
  Associate
  Sterne, Kessler, Goldstein & Fox P.L.L.C.
  Email: dguinn@sternekessler.com
  Direct: 202.772.8530

  IP Assistant: Renée Moore
  Direct: 202.772.8820 Main: 202.371.2600


  From: Davin Guinn <dguinn@sternekessler.com>
  Sent: Friday, March 28, 2025 5:10 PM
  To: CD-Lupin-Amifampridine <Lupin-Amifampridine@bipc.com>; jrichter@midlige-richter.com
  Cc: Firdapse-Litigation <Firdapse-Litigation@sternekessler.com>; Chevalier, Charles H.
  <CChevalier@gibbonslaw.com>; Gaddis, Christine A. <cgaddis@gibbonslaw.com>; Caracappa,
  Michael V. <MCaracappa@gibbonslaw.com>
  Subject: Catalyst v. Lupin - Expert Depositions

  Counsel,

  Plaintiffs’ experts are available for deposition at Sterne Kessler’s office (1101 K Street NW, 10th
  Floor, Washington, D.C. 20005) on the following dates:

          Dr. Blair: Friday, May 16
          Dr. Winkler: Thursday, May 22

  Please confirm acceptance of these dates as soon as feasible.

  Best,
  Davin
Case 2:23-cv-01194-MEF-JRA                      Document 173               Filed 05/02/25            Page 70 of 73 PageID:
                                                       7690


                                             Davin Guinn
                                             Associate
                                             Sterne, Kessler, Goldstein & Fox P.L.L.C.
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Case 2:23-cv-01194-MEF-JRA   Document 173   Filed 05/02/25   Page 71 of 73 PageID:
                                    7691




               Exhibit 5
          Case 2:23-cv-01194-MEF-JRA              Document 173             Filed 05/02/25   Page 72 of 73 PageID:
                                                         7692



From:                                Schaubert, Keri <KSchaubert@cozen.com>
Sent:                                Thursday, April 3, 2025 10:14 AM
To:                                  Davin Guinn; Firdapse-Litigation; Chevalier, Charles H.; Gaddis, Christine A.; Caracappa,
                                     Michael V.
Cc:                                  Coblentz, W. Blake; Lukas, Aaron; eabraham@hillwallack.com;
                                     wmurtha@hillwallack.com; Kristine L. Butler
Subject:                             RE: Catalyst v. Hetero - Expert Depositions



                            EXTERNAL EMAIL: Use caution before clicking links or attachments.

Counsel,

We accept the below dates for the depositions of Drs. Blair, Winkler, Wymer, and McQueen.

In addition, Dr. Lipkin is available for deposition at Cozen O’Connor’s New York office on Monday, May 12th. Please let
us know as soon as feasible if Plaintiffs can accept that date.

Best,
Keri

                          Keri L. Schaubert, Ph.D.
                          Member | Cozen O'Connor
                          3 WTC, 175 Greenwich Street 55th Floor | New York, NY 10007
                          P: 212-883-2258 F: 646-461-3331 C: 734-276-4959
                          Email | Bio | Map | cozen.com




From: Davin Guinn <dguinn@sternekessler.com>
Sent: Friday, March 28, 2025 5:06 PM
To: Schaubert, Keri <KSchaubert@cozen.com>; Coblentz, W. Blake <WCoblentz@cozen.com>; Lukas, Aaron
<ALukas@cozen.com>; eabraham@hillwallack.com; wmurtha@hillwallack.com; Kristine L. Butler
<kbutler@hillwallack.com>
Cc: Firdapse-Litigation <Firdapse-Litigation@sternekessler.com>; Chevalier, Charles H. <CChevalier@gibbonslaw.com>;
Gaddis, Christine A. <cgaddis@gibbonslaw.com>; Caracappa, Michael V. <MCaracappa@gibbonslaw.com>
Subject: Catalyst v. Hetero - Expert Depositions

**EXTERNAL SENDER**

Counsel,

Plaintiffs’ experts are available for deposition at Sterne Kessler’s office (1101 K Street NW, 10th Floor, Washington, D.C.
20005) on the following dates:

      •    Dr. Blair: Friday, May 16
      •    Dr. Winkler: Thursday, May 22
      •    Dr. Wymer: Tuesday, June 3
      •    Dr. McQueen: Friday, June 6

Please confirm acceptance of these dates as soon as feasible.
                                                                   1
        Case 2:23-cv-01194-MEF-JRA           Document 173          Filed 05/02/25    Page 73 of 73 PageID:
                                                    7693

Best,
Davin

                                Davin Guinn
                                Associate
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                                1101 K Street NW, 10th Floor, Washington, DC 20005

                                Email: dguinn@sternekessler.com
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